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                                          February 20, 2025

  VIA ECF

  Honorable Rukhsanah L. Singh
  United States Magistrate Judge
  United States District Court for the District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, New Jersey 08608

         Re:     Edwin H. Stier, Esq., as Wind Down Trustee for MLS Berkowitz Investments,
                 LLC v. Diego Possebon, et al., Case No. 3:24-cv-04647-RK-RLS

  Dear Judge Singh:

        This law firm is co-counsel to the Plaintiff. We write regarding the Initial Case
  Management Order (“CMO”) (ECF No. 347) entered by the Court on January 30, 2025.

          In the CMO, the Court directed the appearing defendants to meet and confer and report
  back to the Court by February 13, 2025, as to whether the appearing defendants were able to reach
  consensus on a “liaison counsel.” By letter dated February 14, 2025 (ECF No. 351), the appearing
  defendants advised the Court that they had been unable to reach agreement as to who should serve
  as liaison counsel.

          The CMO directed that, by February 21, 2025: (i) the parties report back to the Court
  regarding meet and confers on a proposed amended pleading by Plaintiff; and (ii) Plaintiff file a
  letter with the Court addressing the status of service on foreign defendants, whether an amended
  pleading would impact that service, and the status of all appearing defendants.

          Plaintiff’s counsel in the United States and Brazil are working on a framework that would
  significantly narrow and streamline this litigation by (i) dismissing the pending claims against
  certain defendants, (ii) moving to have claims against certain defendants referred to the
  Bankruptcy Court, and (iii) limiting this action to the claims against the defendants that played an
  integral role in the underlying scheme. And there is no present need for leave to amend the
  operative complaint as to the defendants who will remain.

        Plaintiff’s counsel respectfully propose that we provide the Court with an update as to the
  implementation of this framework by no later than March 10, 2025.

         We thank the Court for its consideration and attention to this matter.
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  Letter to Magistrate Judge Singh, Thursday, February 20, 2025
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                               Respectfully submitted,




                               Eric T. Kanefsky, Esq., Senior Partner
                               Calcagni & Kanefsky LLP


  cc (via ECF): all counsel of record
